Case 18-31754-5-mcr              Doc 161 Filed 01/31/19 Entered 01/31/19 11:49:47                              Desc
                                    Main Document    Page 1 of 4


                                                                         Hearing Date: February 1, 2019
UNITED STATES BANKRUPTCY COURT                                           Hearing Time: 1:00 PM
NORTHERN DISTRICT OF NEW YORK                                            Hearing Location: Syracuse, NY

    In re
                                                                               CaseNo.: 18-31754
            CENTERSTONE LINEN SERVICES, LLC                                    Main Case
               d/b/a Clarus Linen Systems, et al, 1                            Chapter 11 Cases
                                                           Debtor.             Jointly Administered




           REPLY TO DEBTOR CENTERSTONE LINEN SERVICES, LLC's
       RESPONSE IN OPPOSITION TO MOTION BY ACN COMPANIES, LLC TO
     COMPEL THE DEBTOR CENTERSTONE LINEN SERVICES, LLC TO PERFORM
      POST-PETITION OBLIGATIONS TO LANDLORD PURSUANT TO SECTION
                                 365(d)(3)

                  BOUSQUET HOLSTEIN PLLC ("BH"), attorneys for ACN Companies, LLC

("ACN" or "Landlord") for its Reply To Debtor, Centerstone Linen Service, LLC's Response in

Opposition to Motion By ACN Companies, LLC to Compel Centerstone Linen Services) LLC to

Pe1form Post-Petition Obligations to the Landlord pursuant to Section 365(d)(3) (the "Reply"),

respectfully represents:

                  1.       This is a Reply to Debtor) Centerstone Linen Service, LLC Response in

Opposition Motion By ACN Companies) LLC to Compel Centerstone Linen Services, LLC to

Pe1form Post-Petition Obligations to the Landlord pursuant to Section 365(d)(3)(Main Index

Doc 150, the "Response"). The Response raises no legitimate objection to ACN Companies,

LLC's Motion to Compel Centerstone Linen Services, LLC to Perform Post-Petition Obligations




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number are: Centerstone Linen Services, LLC d/b/a Clarus Linen Systems (5594) ("Centerstone"); Atlas Health
Care Linen Services Co., LLC d/b/a Clarus Linen Systems (2681) ("Atlas"); Alliance Laundry & Textile Service,
LLC d/b/a Clarus Linen Systems (8284) (Alliance"); Alliance Laundry and Textile Service of Atlanta, LLC d/b/a
Clarus Linen Systems (4065) ("Atlanta"); and Alliance LTS Winchester, LLC d/b/a Clarus Linen Systems (0892)
("Winchester").
Case 18-31754-5-mcr             Doc 161 Filed 01/31/19 Entered 01/31/19 11:49:47                            Desc
                                   Main Document    Page 2 of 4


to the Landlord pursuant to Section 365(d)(3) (Main Index Doc. No. 85, the "Motion to
            2
Compel")        .


                    2.    Debtor Centerstone alleges in the Response that Roland F. Anderson, Jr. is

an insider of the Debtor Centerstone. This is clearly both inaccurate on the face of the Response

and irrelevant. First, as Debtor clearly acknowledges, Roland F. Anderson, Jr. was not a member

or manager of Centerstone. He resigned as a manager of Centerstone on January 16, 2018.

Debtor acknowledges that the actual member of Centerstone is Atlas Syracuse Holdings, LLC

which allegedly owns 9.9948% of Debtor, of which Mr. Anderson owns 100% of the Member

interest.

                    3.    There is nothing in Bankruptcy Code Section 101(31) that makes Mr.

Anderson a statutory insider. Although a person can conceivably be a non-statutory insider if he

or she has "control" of the Debtor, it is beyond doubt that Mr. Anderson is not in control of any

of the Debtors, as evidenced by this litigation and the fact that Landlord is not being paid.

Capmark Financial Group, Inc. v. Goldman Sachs Credit Partners, L.P., 491 B.R. 335

(S.D.N.Y., 2013) (dismissed complaint under similar circumstances where there were
                                         3
insufficient allegations of control).

                    4.    Moreover, even assuming arguendo that Mr. Anderson were an insider,

there is nothing in Section 365(d)(3) that limits performance of a tenant's obligations to a

landlord controlled by a member. Under Debtor's theory, 60 Grider, LLC, which is owned 100%

by CEO John Giardino, who is undisputedly an insider and which is the landlord of the Buffalo

plant, could not receive either post-petition payment of perfonnance of a debtor-tenant's

2
 Capitalized terms shall have the same meaning as defined in the Motion to Compel.
3
 The case In re Die Fieldmaus, LLC, 323 B.R. lOl(Bankr. SDNY 2005) is distinguishable because it addressed
allegedly improper distributions to members of a New York Limited Liability Company. The present case
constitutes a landlord's right to payments and performance of obligations under a lease that are governed by Section
365(d)(3) of the Bankruptcy Code.

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Case 18-31754-5-mcr             Doc 161 Filed 01/31/19 Entered 01/31/19 11:49:47                           Desc
                                   Main Document    Page 3 of 4


obligation or his substantial salary. Neve1iheless, there is no allegation that 60 Grider, LLC is

not receiving full performance of obligations under its lease and Mr. Giardino is ce1iainly

receiving compensation for his services. Thus, this theory is obviously nonsense.

                 5.       Second, with respect to maintenance (Response, if2 l ), replacement of an

overhead door operator is clearly a tenant maintenance item arising to tenant use of the prope1iy,

as is repair of a hole in the floor caused by tenant use of the Syracuse Property. As to the other

items that Tenant concedes are its responsibility, Tenant has clearly not performed these repairs

despite promising to do so, and should be compelled to perform these obligations.

                 6.       Despite the Response, Centerstone does not deny its obligations to

Landlord nor that Section 365(d)(3) is applicable. Centerstone has not provided any payment of

Additional Rent and as of the drafting of this Reply, has not provided any evidence or assurance

that Landlord will be paid. W eeldy payments are the only way that Landlord can be assured that

it will receive performance.

                 7.       Landlord reserves the right to amend, modify or supplement this Reply. 4

                 WHEREFORE, Landlord requests an order compelling Tenant to perform its

obligations under the Lease including, without limitation, paying the amounts accruing under the

Lease for Syracuse Prope1iy and the Troy Prope1iy on a weekly basis and perform its other

obligations under the Lease; and granting to Landlord such other and further relief as the Comi

deems just and equitable.




4
 Mr. Anderson's alleged liability for cell phone payments from approximately 2013 is irrelevant to this motion, and
Mr. Anderson reserves all of his defenses to these claims.

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Case 18-31754-5-mcr       Doc 161 Filed 01/31/19 Entered 01/31/19 11:49:47   Desc
                             Main Document    Page 4 of 4




Dated: January 31, 2019                BOUSQUET HOLSTEIN PLLC


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